          Case 1:15-cv-07433-LAP Document 935 Filed 04/06/18 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VIRGINIA L. GIUFFRE,                                   :
                                                        :
                         Plaintiff,                     :
                                                        :
          - against -                                   :     Case No. 15-cv-7433 (RWS)
                                                        :
 GHISLAINE MAXWELL,                                     :
                                                        :
                          Defendant.                    :
                                                        :

                        NOTICE OF MOTION TO INTERVENE AND UNSEAL


        PLEASE TAKE NOTICE, that upon the memorandum of law in support of proposed

intervenors Julie Brown and the Miami Herald Media Company's Motion to Intervene and Unseal,

dated April 6, 2018, and all prior papers and proceedings in this action, Julie Brown and the Miami

Herald Media Company move to intervene and for an order unsealing all of the documents in the

above-captioned action that have been filed under seal or redacted, and granting such other and

further relief as this Court deems just and proper.


Dated: April 6, 2018
       New York, New York


                                              Respectfully Submitted,

                                              /s Christine N. Walz
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                                              Julie Brown and Miami Herald Media Company




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